Case 2:23-cv-08869-NJC-ARL Document 5 Filed 12/06/23 Page 1 of 2 PageID #: 40




UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
DIANE T. CLARKE, ILANA KOMPAR, ISAAC
ALTMAN and DAVID ROSENFELD,

                                                     Plaintiffs,

                 -against-

THE ASSOCIATION OF LEGAL AID ATTORNEYS,                                      NOTICE OF MOTION
AMALGAMATED LOCAL UNION 2325 OF THE                                          (ORAL ARGUMENT
INTERNATIONAL UNION, UNITED AUTOMOBILE,                                      REQUESTED)
AEROSPACE AND AGRICULTURAL IMPLEMENT                                         Case No: 2:23-cv-08869
WORKERS OF AMERICA (UAW), AFL-CIO, LISA                                      (NJC) (ARL)
OHTA, BRET J. TAYLOR, JEREMY BUNYANER,
EMILY C. EATON, MARTYNA KAZNOWSKI,
GILLIAN R. KRESS, IOANA CALIN, and PUJA PAUL,

                                                      Defendants.
-------------------------------------------------------------------------X


        PLEASE TAKE NOTICE that upon the annexed declaration of Lisa Ohta sworn to on

December 5, 2023, Memorandum of Law, and upon all the prior pleadings and proceedings had

herein, the Defendants will move this Court located at 115 Cadman Plaza East, Brooklyn, New

York 11202 on the 8th day of December, 2023, at 9 o’clock, or as soon thereafter as can be heard

for an Order dissolving the temporary restraining order issued by the Supreme Court for the State

of New York, Nassau County on November 17, 2023.


Dated: December 5, 2023
       New York, New York
Case 2:23-cv-08869-NJC-ARL Document 5 Filed 12/06/23 Page 2 of 2 PageID #: 41




                                                LEVY RATNER, P.C.


                                                ______________________________
                                          By:   Aleksandr L. Felstiner
                                                Attorneys for Defendants
                                                80 Eighth Avenue, 8th Floor
                                                New York, New York 10011
                                                (212) 627-8100
                                                (212) 627-8182 (fax)
                                                afelstiner@levyratner.com




                                      2
